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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 1:19-cv-20204-UU

 JANE DOE, by and through
 Her mother and next friend, Mary Doe

         Plaintiff,
 v.

 THE SCHOOL BOARD OF
 MIAMI-DADE COUNTY,

         Defendant.
                                                      /

                                               ORDER

         THIS CAUSE is before upon Plaintiff’s SEALED Motion for Approval of Mediated

 Settlement Agreement, or, Alternatively, for Extension of Time to Finalize Formal Settlement

 Agreement (D.E. 73).

         THE COURT has considered the Motion and is otherwise fully advised in the premises.

 The Court will grant Plaintiff’s unopposed request for an extension of time to file a final settlement

 agreement. D.E. 73 at 9. Accordingly, it is hereby

         ORDERED AND ADJUDGED that the Motion, D.E. 73, is GRANTED IN PART. The

 parties shall finalize negotiations, sign, and file a Final Settlement Agreement by November 12,

 2019. If such papers are not filed by this deadline, all pending claims will be dismissed without

 further notice.

         DONE AND ORDERED in Chambers at Miami, Florida, this _4th_ day of November,
 2019.


                                                          ________________________________
                                                          URSULA UNGARO
                                                          UNITED STATES DISTRICT JUDGE
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 copies provided: counsel of record
